1

2                       IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
3                              THIRD JUDICIAL DISTRICT AT ANCHORAGE
4                                                           )
       Emerald Fuimaono,                                    )
5                                                           )
                          Plaintiff,                        )
6                                                           )
                          v.                                )     Case No. 3AN-19-9728 CI
7                                                           )
       HI Southern Alaska, Inc., dba Home Instead           )
8      Senior Care,                                         )
                                                            )
 9                        Defendant.                        )
                                                            )
10

11
                                              COMPLAINT
12                                             Amended

13             COMES NOW, Emerald Fuimaono, the plaintiff above named, by and through

14     her attorney, Isaac Derek Zorea, and complains as follows:

15

16                                         I. JURISDICTION

17              1.1.      At all relevant times, plaintiff, Emerald Fuimaono, resided within the

18     Third Judicial District, State of Alaska.

19              1.2.      At all relevant times, defendant, HI Southern Alaska, Inc., has

20     maintained significant business connections within the Third Judicial District, State of

21     Alaska.

22              1.3.      Venue properly rests within the Third Judicial District, State of Alaska.

23

24                                              II. FACTS

25               2.1.     At all times relevant to this lawsuit, Plaintiff Emerald Fuimaono has

26     been an employee of defendant, HI Southern Alaska, Inc..

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2              2.2.     On or about December 26, 2018, defendant HI Southern Alaska, Inc.
3      terminated plaintiff's employment.
4              2.3.     Initially, during the relevant times of Plaintiff's employment, she
 5     earned $17.00 an hour, and worked a full 8 hours a day, 40 hours a week schedule.
6      On or about January 9, 2018, she was switched to a salary pay, although she was not
 7     properly considered an exempt employee.

8              2.4.     On frequent, recurring, occasions, the defendant HI Southern Alaska,
 9     Inc., required Emerald Fuimaono to accept and work answering its business phones
10     and attending to its emergency scheduling needs, on a shift that extended her work
11     duties beyond 8 hours in a day, and/or 40 hours in a week.
12             2.5.     On the frequent occasions that Emerald Fuimaono worked the

13     additional, after business hours, shift answering HI Southern Alaska's business phone,
14     she worked overtime hours, however, her employer paid her only a flat fee of $50 for
15     each shift, regardless of the hours worked. This rate was eventually altered so that she
16     earned $75 during her weekend shifts.
17             2.6.     It is Emerald Fuimaono recollection, and belief, that when she

18     answered HI Southern Alaska's after-hour phones, she was actively engaged by her
19     employer, and the scheduled shifts began at the end of her normal shift, at 5 pm and
20     did not conclude until the start of normal business hours, at 8 am. Additionally, Ms.
21     Fuimaono worked many entire weekend shifts stretching from Friday at 5 pm, and
22     concluding on Monday at 8 am.
23              2.7.    Despite working the after-hour work shifts required by HI Southern
24     Alaska, Inc., Emerald Fuimaono was never paid overtime wages for her work, and
25      never received full payment for her non-overtime hours that she worked for
26      Defendant.
27
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2              2.8.     Ms. Fuimaono is now demanding full payment for all unpaid overtime
3      and unpaid wages that she spent on duty for HI Southern Alaska, Inc.'s benefit.
4
5                                           CAUSES OF ACTION

6      A.      VIOLATION OF FAIR LABOR STANDARDS ACT OF 1938, AS AMENDED
               (29 USC § 201 ET SEQ.).
 7
               3.1.     Emerald Fuimaono incorporates all the facts and allegations within the
8
       paragraphs listed above, 2.1 through 2.8.
9
               3.2.     Plaintiff Emerald Fuimaono affirms, and states, that she agreed to
10
       employment with HI Southern Alaska, Inc. for an agreed amount of $17.00 per hour
11
       worked, which eventually changed to a bi-weekly salary of $1825. She was never an
12
       exempt employee, under the Fair Labor Standards Act, and her salary intended to
13
       compensate her only for 40 hours per week of on-duty service for her employer.
14
               3.3.     Plaintiff Emerald Fuimaono affirms, and states, that she had been
15
       required to work over 3,000 overtime hours for the employer, but did not receive the
16
       required overtime rate of one and a half times her regular rate of pay.
17
               3.4.     Plaintiff Emerald Fuimaono further affirms, and states, that HI
18
       Southern Alaska, Inc., refused to pay her for all the overtime hours she worked or
19
       properly pay her for her non-overtime hours, which was a violation of the Fair Labor
20
       Standards Act.
21
                3.5.    Plaintiff Emerald Fuimaono affirms and attests that as of the date of
22
       this filing, HI Southern Alaska, Inc. has failed to pay her all amounts it owes to her.
23
                3.6.    As remedy for HI Southern Alaska, Inc.'s, refusal to follow wage and
24
       hour laws, Emerald Fuimaono requests all legal and equitable remedies available
25
       under 29 U.S.C. § 216(b), including unpaid regular and overtime wages, and
26
       liquidated damages, plus actual reasonable attorney fees and prejudgment interest.
27
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2              3.7.     Additionally, based on all the facts alleged above 2.1 through 2.8,

3      Plaintiff Emerald Riimaono alleges that her employer I-II Southern Alaska, Inc.'s,

4      failure to pay her for overtime hours worked and did not fully pay her for her non-

 5     overtime hours, and that this refusal to pay was willful.

6              3.8.     Given the willful nature of HI Southern Alaska, Inc., failure to pay

 7     overtime, Emerald Fuimaono requests in addition to the damages available under
8      either the Fair Labor Standards Act, that she be awarded unpaid overtime wages
 9     dating back three years from the accrual of said overtime compensation, plus
10     liquidated damages, prejudgment interest and attorney fees.
11

12                                          PRAYER OF RELIEF
13             WHEREFORE, Plaintiff, Emerald Fuimaono , requests judgment against
14     Defendant HI Southern Alaska, Inc., as follows:
15             1.       Full and complete payment of all compensation HI Southern Alaska,
16     Inc. owes to Emerald Fuimaono, based on the terms and conditions of her

17     employment contract. including payment for overtime hours worked dating back three

18     years, plus liquidated damages;

19              2.      All legal and equitable remedies available under the FLSA, particularly

20     those available under 29 U.S.C. § 216(b). including liquidated damages, plus actual

21      reasonable attorney fees and prejudment interest.
22              3.      Plaintiff Emerald Fuimaono further seeks such other relief as the court

23      may deem just and proper based on the egregious nature of defendants' conduct.

24
        Dated: December 16, 2019
25
                                                                  Isaac D. Zorea
26                                                                ABA No. 0011090
                                                                  Counsel for Emerald Fuimaono
27

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